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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                 Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

                             PLAINTIFF R.M.S. TITANIC, INC.’S
                                 NOTICE OF SUBMISSION

       Plaintiff RMS Titanic, Inc. (“RMST”), by counsel, respectfully submits to the Court the

due diligence documents (the “Due Diligence Exhibits”) previously provided to NOAA with

RMST’s two responses to NOAA’s requests for information. The Due Diligence Exhibits are

attached hereto as Exhibits A through K.


                                                   Respectfully submitted,

                                                   R.M.S. TITANIC, INC.

                                                   By Counsel


                                                          /s/
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                                       CERTIFICATION

       I hereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 2nd day of November, 2018.




       /s/
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